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 8                                 IN THE UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
 9
10    LONNIE L. KOCONTES,                                     )
11                                                            )
                                Plaintiff,                    ) Case No. 8:19-cv-01968-PSG-PLA
12                                                            )
               vs.                                            )
13                                                            ) First Amended Complaint
14    ORANGE COUNTY SHERIFF’S                                 )
      DEPARTMENT, GLOBAL TEL LINK,                            ) Demand for Jury Trial
15    AND DOES 1-10,                                          )
                                                              )
16                      Defendants,                           )
17    ______________________________________/

18
19             Plaintiff Lonnie L. Kocontes, by and through counsel and for his First Amended

20    Complaint alleges as follows:

21             Jurisdiction and Venue

22             1.        This is a civil rights complaint brought under 42 U.S.C. § 1983 and 28 U.S.C. §§

23    1331 and 1343 (a). This Court has jurisdiction thereunder and under section 1988. Venue lies

24    because the actions and omissions of the defendants occurred in this judicial district. 28 U.S.C. §

25    1931 (b). This Court has jurisdiction over the state law claims asserted by Plaintiff under 28

26    U.S.C. § 1367. Diversity jurisdiction also exists over Plaintiff’s state law claims under 28 U.S.C.

27    § 1332 because Plaintiff is a domiciliary of Florida and Defendant Global Tel Link (GTL) is a

28    Virginia Corporation.
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 1             2.        Plaintiff Lonnie L. Kocontes is, and was at all material times, an inmate awaiting
 2    trial in the Orange County Jail. Plaintiff has not been convicted of a crime.
 3             3.        Defendant Orange County Sheriff’s Department (OCSD) is responsible for all
 4    operational aspects of the Orange County Jail, including housing, classification, and discipline of
 5    inmates.
 6             4.        Defendant Global Tel Link (GTL), a foreign corporation, contracts with the
 7    OCSD to provide inmate telephone service on a pre-paid basis. GTL rebates to OCSD as much
 8    as 65% of the revenue generated through inmate telephone calls. GTL offers its services
 9    nationally and is a multi-billion dollar company.
10             5.        Defendants Does 1-10 are participants in civil rights violations and torts
11    complained of herein. Their true identities are presently unknown to Plaintiff, but he will seek
12    leave to substitute their true identities as soon as they become known to him in discovery
13    Claim I
14             The following civil rights have been violated: 1st, 6th, 14th and 5th Amendments
15    (procedural due process).
16             Plaintiff’s right to communicate confidentially with his attorneys, David Michael, James
17    Bustamante, Edward Burch, Maha Kasim, and Correen Ferrentino, all of whom either
18    represented Plaintiff in his two pending criminal cases (O.C.S.C. #’s 13ZF0163 and 15CF0995)
19    or were consulted for the purpose of assisting Plaintiff in one or both cases. Plaintiff, who was
20    and remains a pretrial detainee in both cases, alleges a violation of his First and Sixth
21    Amendment rights in the recording of over 165 telephone calls to these attorneys between March
22    2013 and August 27, 2019. Plaintiff asserts that this intentional recording of his privileged phone
23    calls was done as part of a widespread practice to aid law enforcement by providing such
24    recordings to criminal investigators and disclose defense strategy and factual information
25    relating to pending cases that would otherwise remain unknown to law enforcement.
26             Plaintiff had a liberty interest in confidential calls to counsel created by Penal Code §
27    636. See Carlo v. Chino (9th Cir 1997) 105, F 3d 493, 497) (procedural due process protects right
28    to call attorney created by state statute. Also, limitations for continuing violations of repeated
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 1    acts runs from the most recent violation, not the first. E.g., Turley v. Rednour (7th Cir. 2013) 729
 2    F. 3d 645, 651 (cause of action accrues from date of last incidence of that violation; violation is
 3    n continuing where it would be unreasonable to require or even permit a prisoner to sue
 4    separately over every incident); (Gutowsky v. County of Placer (9th Cir. 1997) 108 F. 3d 256, 259
 5    (continuing violation doctrine applies when series of related acts, one or more of which falls
 6    within the limitations period).
 7             Moreover, because Plaintiff is a pretrial detainee, interference with effective attorney-
 8    client communication is itself prejudicial to his ability to defend the criminal charges against
 9    him. See Benjamin v. Fraser (2nd Cir. 2001) 264 F. 3d 175, 185 – 186 (Holding that the “actual
10    injury” requirement of Lewis v. Casey does not apply to 6th Amendment claims of pretrial
11    detainees). Finally, a prisoner may state a Monell claim against a public entity based on a long-
12    standing practice or custom, such as when the public entity fails to implement procedural
13    safeguards to prevent constitutional violations. E.g., Lapachet v. Cal. Forensic Med. Group, Inc.
14    (E.D. Cal. 2018) 313 F. Supp. 3d 1183, 1192. Plaintiff has alleged facts sufficient to show that
15    Defendants OCSD and GTL engaged in joint action because OCSD knowingly accepted both
16    financial and investigatory benefits derived from GTL’s unconstitutional and tortious recordings
17    and distribution of Plaintiff’s attorney telephone calls from jail, such that GTL acted under color
18    of law. See, Kirtley v. Rainey (9th Cir. 2003) 326 F. 3d 1088, 1093.
19    Supporting Facts – Claim I
20             6.        Plaintiff has been continuously incarcerated as a pretrial detainee in the Orange
21    County Jail since March 2013.
22             7.        Plaintiff is appearing in propria persona in case #15CF0995 pending in Orange
23    County Superior Court and has been representing himself in that case since November 2018.
24             8.        Prior to representing himself in #15CF0995, Plaintiff was represented by the
25    Associate Public Defender of Orange County from December 2017 – November 2018, and by
26    Correen Ferrentino from 2015 – December 2017.
27             9.        Plaintiff is also a pretrial detainee in O.C.S.C. #13ZF0163. From 2013 –
28    December 2017, Plaintiff was represented by David Michael, James Bustamante, and Edward
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 1    Burch. David Michael and Edward Burch continue to represent Plaintiff in United States District
 2    Court case # 2:09-cv-04381 (CD. Cal) and the government’s related appeal after summary
 3    judgment was granted against the government, 9th Circuit # 13-55194. The federal asset
 4    forfeiture resulting in these two federal cases alleges the same facts as O.C.S.C. #13ZF0163, i.e.,
 5    the unlawful homicide of Micki Kanesaki.
 6             10.       This claim is brought against Defendants OCSD, GTL, and Does 1-3.
 7             11.       OCSD contracts with GTL to provide telephone service to inmates of the Orange
 8    County Jail. GTL rebates as much as 65% of the revenue from inmate telephone services.
 9             12.       Doe #1, an employee of OCSD, conspired with Doe #2, an employee of GTL, to
10    record Plaintiff’s attorney-client telephone calls for the purpose of providing the recordings to
11    the OCSD investigators handling Plaintiff’s criminal cases, which, in fact, occurred.
12             13.       Defendants OCSD, GTL and Does 1-2 recorded Plaintiff’s privileged telephone
13    calls from the jail as part of a widespread practice in which the privileged phone calls of scores
14    of high-profile criminal defendants were recorded and provided to law enforcement for the
15    purpose of aiding criminal prosecutions.
16             14.       These defendants took such actions despite knowing that they were committing
17    felony violations of Penal Code § 636 and violating Plaintiff’s (and other criminal defendants’)
18    rights to the effective assistance of counsel.
19             15.       These defendants recorded privileged phone calls of jail inmates, including
20    Plaintiff, without permission over a period of multiple years going back at least to 2013,
21    unbeknownst to the inmates whose privileged calls were being recorded, including Plaintiff.
22             16.       From March 2013 through and including August 27, 2019 Defendants OCSD,
23    GTL and Does 1-2 intentionally recorded over 165 of Plaintiff’s privileged telephone calls to the
24    above-named attorneys.
25             17.       Plaintiff did not learn that any of his privileged phone calls were recorded until
26    August 2016, when the district attorney prosecuting case #13ZF0163, filed a motion in that case
27    disclosing that the attorney phone calls had been recorded and seeking judicial permission for the
28    prosecutor herself to listen to them.
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 1             18.       In oral representations to the Court, the prosecutor represented that the recording
 2    of Plaintiff’s privileged calls was an isolated oversight, and that the only reason the issue arose
 3    was because Plaintiff’s counsel, David Michael, had made a discovery request for any and all
 4    recordings of Plaintiff’s conversations while in the jail.
 5             19.       Plaintiff, who was unaware of the falsity of the prosecutor’s representations
 6    regarding the circumstances of the recording of his privileged conversations, relied on such
 7    representations by taking no action to pursue a civil claim.
 8             20.       In July 2019, however, Plaintiff learned from reviewing pleadings in People v
 9    Weisz, O.C.S.C. #18WF0433, which were provided to him by inmate Joshua Waring, that
10    recording of privileged phone conversations was actually part of a widespread practice by OCSD
11    and GTL for the purpose of providing privileged information to law enforcement investigators to
12    aid in the criminal prosecutions of inmates.
13             21.       When the true extent of the OCSD’s and GTL’s conspiracy to record and disclose
14    inmates’ privileged phone calls began to be exposed in 2018, representatives of GTL falsely
15    claimed that a file of attorney telephone numbers had become “corrupted” and therefore the
16    recordings were accidentally made.
17             22.       But GTL had used this same false excuse in Clearwater, Florida several months
18    earlier when prosecutors there learned that privileged phone calls were being recorded from their
19    local jail by GTL.
20             23.       In fact, GTL recorded inmates’ privileged calls at the direction of, and in
21    participation with, OCSD’s direction, and with full knowledge that such recordings would be
22    provided to law enforcement for the purpose of assisting in the criminal prosecutions of the
23    inmates placing the calls, including Plaintiff.
24             24.       Over the past several years, OCSD and GTL have recorded and provided to law
25    enforcement investigators participating in the prosecution of the inmates placing the calls, tens of
26    thousands of privileged phone calls, i.e., calls to criminal defense counsel. In each such instance
27    GTL did so at the direction of and with authorization of OCSD.
28
      First Amended Complaint
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 1             25.       The recordings of Plaintiff’s privileged telephone calls were provided by GTL to
 2    Investigator Quinlantan of the OCSD, a member of the prosecution team in both of Plaintiff’s
 3    pending cases, even though GTL knew that the recordings were privileged and made in felony
 4    violation of Penal Code § 636.
 5             26.       Doe #3, an employee of GTL, retrieved some of the recordings of Plaintiff’s
 6    privileged telephone calls from GTL’s computer servers and provided them to Investigator
 7    Quilantan.
 8             27.       In each instance in which Plaintiff’s privileged phone calls were recorded, GTL
 9    staff were legally prohibited by Penal Code § 636 and established constitutional precedent from
10    doing so, yet GTL participated in and assisted OCSD in violating Plaintiff’s right to have
11    confidential communications with attorneys, including those representing him in pending
12    criminal cases, by following OCSD’s direction to record and then distribute the recordings to law
13    enforcement investigators pursuing pending cases against Plaintiff.
14             28.       At all times during which GTL and OCSD were recording Plaintiff’s privileged
15    phone calls, GTL and OCSD had the telephone numbers of the attorneys and knew that Plaintiff
16    was calling attorneys. These actions have chilled Plaintiff’s communications with counsel.
17             29.       As a result of the recording and disclosure of Plaintiff’s privileged conversations,
18    the prosecution team in case #13ZF0995 learned defense strategy, including how Plaintiff
19    intended to impeach key prosecution witnesses Amy Nguyen, Bill Price, and Frank Brentnell, as
20    well as Plaintiff’s consulting experts’ opinions on such matters as cause of death, motive for
21    prosecution witnesses to fabricate, the incidence of cruise ship crime perpetrated by crew
22    members, and Plaintiff’s potential testimony.
23    Claim II
24             Plaintiff’s 1st and 6th Amendment rights have been violated by the OCSD’s opening and
25    reading of Plaintiff’s mail from attorneys, courts and government officials, all occurring outside
26    Plaintiff’s presence. Plaintiff, who is appearing in propria persona in criminal case #15CF0995,
27    now pending in Orange County Superior Court, must rely on timely delivery of court notices and
28    pleadings from the district attorney to be able to comply with judicial deadlines, for example in
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 1     filing reply briefs. But in addition to opening Plaintiff’s “legal mail” outside his presence,
 2     Defendant OCSD also delays delivering mail to Plaintiff from courts and counsel by as much as
 3     two weeks. OCSD has created a liberty interest by enacting a written policy that requires legal
 4     mail, including mail from courts and government officials, to be opened only in Plaintiff’s
 5     presence, and therefore such procedure is also required by due process under the 5 th and 14th
 6     Amendments. E.g., Wilkinson v. Austin (2005) 545 U.S. 209, 125 S. Ct. 2384, 2394; Neal v.
 7     Shimoda (9th Cir. 1997) 131 F. 3d 818, 827; Kritenbrink v. Crawford (D. Nev. 2006) 457 F.
 8     Supp. 2d 1139, 1147 (“Liberty interests may be granted by state and prison regulations and may
 9     thereby invoke due process protections”). As a pro se criminal defendant, Plaintiff is entitled to
10     greater constitutional protections than represented defendants concerning access to the courts,
11     which would necessarily encompass legal mail. See e.g., U.S. v. Janis (S.D. Cal. 1992) 820 F.
12     Supp. 512, 515 (“Because Janis is representing himself, he will need more [law] library time than
13     an inmate represented by an attorney”). Finally, in just the past three months, OCSD jail staff
14     have refused and returned legal mail clearly marked as coming from attorneys on at least two
15     occasions of which Plaintiff is aware. The intentional interference with incoming attorney mail
16     states a claim for interference with a criminal defendant’s 6 th Amendment right to counsel, and
17     the violation of confidentiality itself and the attendant chilling effect is sufficient to establish
18     prejudice. Nordstrom v. Ryan (9th Cir. 2014) 762 F. 3d 903, 910 (noting the prejudice of the
19     chilling effect such interference creates and describing the “right to privately confer with counsel
20     is nearly sacrosanct”); Bieregu v. Reno (3rd Cir. 1995) 59 F. 3d 1445, 1455 (rejecting interference
21     with attorney-client mail because, “of all communications, attorney mail is the most
22     sacrosanct”).
23     Supporting Facts – Claim II
24              30.       This claim is brought against Defendant OCSD and Does 4-5.
25              31.       The OCSD has promulgated policies to govern its operation of the jail, which it
26     publishes as the “Courts, Custody Operations Manual. Policy 1600.3 (b) (2) states:
27
                          Legal Mail – There is no limit on the amount of legal mail an
28                        inmate may send or receive. Inmates may correspond
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                          confidentially with state and federal courts, any member of the
 1
                          State Bar or holder of public office, the State Board of Corrections,
 2                        or the Division Commander. Legal mail may be sealed by the
                          inmate in the presence of a Deputy and after the mail has been
 3                        inspected for contraband. The Deputy will initial the letter across
                          the seal and include his/her badge number.
 4
 5              32.       Policy 1600.3 (b) (3) states:

 6                        Incoming confidential/legal mail may be checked for contraband,
 7                        checks, or money orders, provided the mail is opened in the
                          presence of the inmate.
 8
 9              33.       Investigators handling Plaintiff’s criminal cases have asked the jail to provide

10     them with “mail cover,” meaning that Plaintiff’s outgoing and incoming unprivileged/non-

11     confidential mail is copied and provided to them

12              34.       Within the last four years, Defendant OCSD authorized and instructed Does #4

13     and #5, who work in the jail’s mail room, to open, copy, and distribute Plaintiff’s incoming legal

14     mail, providing copies to the OCSD investigators handling Plaintiff’s pending criminal cases.

15              35.       The opening, copying, and distribution of Plaintiff’s incoming legal mail included

16     mail from Plaintiff’s criminal defense counsel relating to his pending criminal cases on multiple

17     occasions.

18              36.       Plaintiff submitted grievances regarding the opening of his legal mail outside his

19     presence, but is unable to provide copies/exact dates because either the grievances were never

20     answered, or OCSD deputies took Plaintiff’s copies during searches of Plaintiff’s cells. Plaintiff

21     will seek copies of such grievances in discovery.

22              37.       In the summer of 2016, in response to one of Plaintiff’s grievances, an individual

23     who identified himself as a mail room supervisor told Plaintiff in response to a grievance about

24     legal mail being opened outside Plaintiff’s presence that because of the high volume of mail

25     received by the jail, nothing would be done to stop the opening of Plaintiff’s legal mail outside

26     his presence.

27              38.       In April 2019, Plaintiff attempted to mail a document to Department C-45 of the

28     Orange County Superior Court for in propria persona filing. He used an indigent “legal mail
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 1     only” envelope supplied by the jail as required by 15CCR § 1063 (e). But instead of applying
 2     postage, the jail deposited it in the mail without postage. When the envelope was returned about
 3     2 weeks later, Deputy Riley thought it was incoming legal mail, so he opened it in Plaintiff’s
 4     presence on 4/22/19. This significantly delayed the filing of the document.
 5              39.       On 7/24/19, the Orange County Superior Court mailed Plaintiff a Minute order
 6     that the jail held until 8/6/19.
 7              40.       On 7/18/19, Department C-5 of the Orange County Superior Court mailed a
 8     minute order to Plaintiff that he never received through the mail and was unaware of until his
 9     court-appointed investigator provided it on 8/15/19.
10              41.       On 8/6/19, Plaintiff received and envelope stamped “Legal Mail” that was from
11     the Orange County Public Defender (Stacy Kelly) addressed to inmate Oliver Britson #3090696.
12              42.       Also, on 8/6/19, Plaintiff received another envelope from the Orange County
13     Superior Court that was mailed on 7/29/19 (in addition to the one mailed 7/24/19 referenced
14     above in paragraph 34).
15              43.       On multiple occasions, the jail has delayed delivering oppositions to Plaintiff’s
16     motions (in case #15CF0995 in which he represents himself), which has prejudiced his defense
17     by preventing him from filing timely reply briefs. For example, on 10/25/19, the Orange County
18     District Attorney mailed an opposition to Plaintiff’s motion for sanctions, which was heard on
19     8/1/19, The jail did not deliver the opposition until 8/3/19, preventing Plaintiff from replying or
20     even reviewing the opposition before the 8/1/19 hearing.
21              44.       On August 11, 2019 Plaintiff’s current counsel in case #13ZF0163, the Associate
22     Defender of Orange County, mailed documents to Plaintiff. The jail, without explanation,
23     returned the envelope to the sender. Although Plaintiff was supposed to be provided with a mail
24     disposition notice explaining why his mail was rejected, he did not receive one.
25              45.       On or about 8/21/19, the jail rejected an envelope addressed to Plaintiff from his
26     former defense counsel in case #13Zf0163 that contained documents relating to that case. The
27     envelope was clearly labeled “attorney-client privileged.” Again, the jail did not provide Plaintiff
28     with a mail disposition notice regarding the rejection of his legal mail.
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 1            46.       In each instance of delay and rejection of Plaintiff’s legal mail, Plaintiff was
 2   prejudiced in his defense of a pending criminal case in that he was prevented from timely filing a
 3   document such as a reply brief, motion, or petition.
 4   Claim III
 5            Plaintiff’s 5th and 14th Amendment rights have been violated by Defendant OCSD’s
 6   classification of him as a “sex offender” and placement in administrative segregation without
 7   ever affording him a hearing and opportunity to rebut such classification with evidence. OCSD
 8   classified Plaintiff as a “protective custody – sex offender (PCS)” purportedly based on an arrest
 9   in 2000 in which Plaintiff was accused of consensual sexual contact with a minor, but the
10   charges against him were dismissed after DNA evidence failed to link him to the alleged victim
11   and Plaintiff established irrefutable alibi evidence. Because he was never convicted, Plaintiff was
12   entitled under the Due Process Clause and applicable regulation/policy to a hearing and
13   opportunity to present evidence before being classified and placed in maximum security housing
14   where he is confined to a cell 23 hours per day, and he was entitled to such hearing thereafter
15   each time he requested review of his classification, which he was allowed to do every 30 days.
16            Plaintiff was initially classified as a minimum custody, general population inmate,
17   making him eligible for the least restrictive, dormitory-style housing, inmate worker status, and
18   participation in inmate programs. But instead, Plaintiff was reclassified as PCS upon transfer
19   from Intake/Release Center (IRC) to Theo Lacy Jail (TLJ) and placed in administrative
20   segregation. As a PCS – labeled inmate, Plaintiff has suffered significant stigma and retaliation
21   from jail staff and inmates alike, including attempts to sabotage his food with razor blades and
22   rocks, being issued disciplinary reports after searches when general population inmates were
23   found in possession of the same “contraband” (alleged excess clothing for which Plaintiff had
24   medical authorization), derogatory comments such as “chomo” (child molester) and placement
25   with and near mentally-ill inmates, who make up a significant proportion of PCS inmates, one of
26   whom, without provocation, attacked Plaintiff, puncturing his eardrum and causing permanent
27   hearing loss. The stigmatizing effect of being labeled as a sex offender has been established as a
28   matter of law. Kritenbrink v. Crowford (D. Nev. 2006) 457 F. Supp. 2d. 1139, 1146 (“as a matter
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 1   of law, Plaintiff need not show stigmatization resulting from this type of classification. The
 2   Ninth Circuit has held that labeling someone as a sex offender is inherently stigmatizing”) (citing
 3   Neal v. Shimoda (9th Cir. 1997) 131 F. 3d 818, 829). Neal held that “the classification of an
 4   inmate as a sex offender is precisely the type of ‘atypical and significant hardship on the inmate
 5   in relation to the ordinary incidents of prison life’ that the Supreme Court held created a
 6   protected liberty interest.” Id. at 829 (citing Sandin v. Conner (1995) 515 U.S. 472, 482, 115 S.
 7   Ct. 2293, 2300).
 8   Supporting Facts – Claim III
 9            47.       This claim is brought against Defendant OCSD and Does 6-8.
10            48.       Upon his arrival at the IRC of the Orange County Jail in March 2013, Plaintiff
11   was classified as a minimum security, general population inmate and issued a white wristband
12   signifying such classification.
13            49.       In August 2013 Plaintiff was transferred to Theo Lacy Jail, where he was
14   immediately isolated and placed in a holding cell by himself. After about ten hours, three
15   deputies of the Special Handling Unit, Does 6-8, came into the holding cell and informed
16   Plaintiff that he was being reclassified as a protective custody – sex offender (PCS) (The Special
17   Handling Unit coordinated the placement of jailhouse snitches, resulting in the Dekraai snitch
18   scandal that exposed the extensive Massiah violations within the jail. See People v. Dekraai
19   (2016) 5 Cal. App. 5th 1110, 1141-1145. Plaintiff was eventually placed in a cell with an
20   informant, resulting in case no. 15CF0995.)
21            50.       The identities of Does 6-8 are unknown to Plaintiff as they wore black T-shirts
22   without names on them.
23            51.       Does 6-8 claimed that Plaintiff’s reclassification as a PCS was based on an arrest
24   in 2000 in which he was accused of sexual contact with a minor.
25            52.       When Plaintiff protested that the charges against him had been dismissed after
26   DNA testing and he established irrefutable alibi evidence, he was told if he didn’t accept
27   reclassification and wear the protective custody blue wristband, he would be administratively
28
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 1   placed in “the hole” (disciplinary isolation), where he would have no access to his legal
 2   documents or a telephone.
 3            53.       After putting a blue wristband on Plaintiff, he was placed in a two-person cell,
 4   where he was limited to one hour of “day” room every day, which was his only access to shower
 5   or use the telephone.
 6            54.       Had Plaintiff remained a general population, “white band” inmate, he would have
 7   been placed in a dormitory at Theo Lacy Jail, where he would have access to day room nearly
 8   the entire day, and would have been eligible for inmate programs, including the inmate worker
 9   program. Inmates in protective custody have no access to programs.
10            55.       As a PCS inmate, Plaintiff’s status was communicated to the general population
11   inmates every time he went to court when he was placed in the same holding cell each time (#16)
12   with “PCS” written on it in large black letters (on the glass door).
13            56.       When general population inmates passed by holding cell #16, they would
14   sometimes extend their middle fingers towards the inmates in the holding cell and say things like
15   “Fuck you, chomos.” Deputies who observed this would typically smile.
16            57.       When PCS inmates in holding cell #16 would ask deputies for toilet paper, the
17   deputies would either claim to be out (even though a large box of it was against the wall behind
18   them) or say “sure, in a minute” but then never bring any.
19            58.       Deputies working in the holding cells area (the “Loop”) also refuse to respond to
20   the emergency intercom button from the PCS holding cell.
21            59.       PCS inmates are considered objects of hatred by both jail staff and inmates.
22   Within the general Population inmates, one is expected to attack a PCS inmate if given the
23   opportunity.
24            60.       Plaintiff, while housed in a sector (cellblock) containing only PCS inmates, has
25   found razor blades and rocks in his food. All food is served by general population inmate
26   workers. In each such instance, Plaintiff reported the contaminant to deputies, but he is unaware
27   of whether it was documented. Such incidents occurred within the past four years.
28
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 1            61.       Defendants (OCSD and Does 6-8) were aware when they placed Plaintiff in a
 2   sector with all PCS – labeled inmates that a disproportionate percentage of those inmates are
 3   mentally-ill and violent.
 4            62.       In December 2015 Plaintiff was attacked from behind without provocation by a
 5   mentally-ill inmate named Jeffrey Smith, who struck Plaintiff in the ear, puncturing his eardrum
 6   and causing permanent hearing loss.
 7            63.       Deputies in Plaintiff’s sector (J-7 of TLJ) were aware that Smith had hostility
 8   towards Plaintiff a just a couple of days before the attack they observed Smith screaming
 9   incoherently at Plaintiff and they removed him from the area.
10            64.       Defendants OCSD and Does 6-8 were deliberately indifferent to the risk of harm
11   to Plaintiff by placing him with and continuing to maintain him with mentally ill, violent inmates
12   in the PCS classification.
13            65.       Because of his PCS status, Plaintiff has been disciplined for conduct that is
14   excused when committed by general population inmates, For example, in 2017 Plaintiff received
15   a disciplinary report for possessing a pillow without a name on it.
16            66.       A more recent example occurred on 8/17/19 when, during what Plaintiff was told
17   was a routine cell search, he received a disciplinary report for having extra underwear. (Plaintiff
18   had been transferred to the medical module, where different classifications of inmates are housed
19   in the same sectors.) During this same search, the general population inmate in the cell next to
20   Plaintiff was found in possession of an extra sheet, but he was not disciplined for it.
21   Claim IV – Due Process Violations In Discipline
22            Plaintiff’s procedural and substantive due process rights have been consistently violated
23   by Defendant OCSD in its discipline of Plaintiff for purported rule violations. The procedural
24   violations result from OCSD’s de facto policy of denying all inmates the right to call and
25   question witnesses at disciplinary hearings, failing to identify the evidence relied on in the
26   written notices imposing punishment and notifying inmates of finding of guilt, and beginning
27   punishment before an inmate has time to submit and obtain a ruling on the appeal process set
28   forth in OCSD written policy. These de facto policies, which are implemented without regard to
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 1   whether any specific security concerns could justify them, violate the minimum due process
 2   procedural protections required by Wolff v. McDonnell (1974) 418 U.S. 539, 563-567, 94 S. Ct.
 3   2963. The procedural requirements of Wolff apply to any punishment imposed on a pretrial
 4   detainee, regardless of whether “the state has conferred a liberty interest from confinement
 5   conditions ‘imposing atypical and significant hardship on the inmate in relation to the ordinary
 6   incidents of prison life.’” Mitchell v. Dupnik (9th Cir. 1996) 75 F. 3d 517, 523-524 (citing Sandin
 7   v. Conner (1995) 515 U.S. 472, 115 S. Ct. 2293 and explaining that None of this rationale
 8   applies, however, to a pretrial detainee like Shabazz, who had not been convicted or sentenced at
 9   the time he was disciplined”); see also Loret v. Selsky (W.D.N.Y. 2009) 595 F. Supp. 2d 231,
10   234 (“Simply invoking security concerns, with no articulation at all of how institutional security
11   could be jeopardized or compromised by turning over the evidence in question, does not meet
12   that minimum constitutional standard”). Plaintiff further alleges a violation of his substantive due
13   process rights in that the disciplinary rules have been applied to him in an arbitrary and
14   capricious manner. Specifically, the jail’s disciplinary rules do not define “contraband,” which
15   allows jail staff to arbitrarily label an item as “contraband” and issue a disciplinary violation
16   notice to any inmate that staff dislikes. For example, Plaintiff has been disciplined for possession
17   of a pillow, “extra” clothing, passing lunch meat, and having rolled-up newspaper under his door
18   to keep cold air out of his cell. (Plaintiff has rheumatoid arthritis and cold exacerbates the pain in
19   his damaged joints.
20   Supporting Facts – Claim IV
21            67.       This claim is brought against Defendant OCSD and Does 9 and 10, who are
22   supervisory jail staff who know that the jail’s disciplinary system operates unconstitutionally as
23   described herein and are deliberately indifferent to the harm inflicted thereby.
24            68.       Between September 2015 and September 2019, Plaintiff has been disciplined at
25   least six times for “possessing” or “passing” “contraband.”
26            69.       In the two cases of “passing contraband,” the purported “contraband” consisted of
27   food items.
28            70.       The jail’s disciplinary rules do not define “contraband.”
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 1            71.       In application, the term “contraband” is applied by jail staff to any item that they
 2   wish to so label, and is therefore arbitrarily and capriciously applied.
 3            72.       Plaintiff has been disciplined for “contraband” in the form of lunchmeat, extra
 4   clothing, including for which he had a medical authorization, a pillow, and for having rolled-up
 5   newspaper under his cell door to keep cold air out.
 6            73.       Punishment for each alleged disciplinary violation has been what the jail labels
 7   “loss of all privileges,” i.e., loss of “day” room, outdoor recreation, commissary, and visits,
 8   typically for ten days at a time.
 9            74.       The only time Plaintiff was allowed out of his cell while on “loss of all
10   privileges” was every other night for ten minutes to shower.
11            75.       When Defendant OCSD conducts disciplinary hearings, the sergeant who acts as
12   the hearing officer never allows the inmate who is accused of the violation to review the incident
13   report written by the jail staff who initiated the disciplinary violation notice, even though that
14   hearing officer considers such incident report as evidence in determining guilt.
15            76.       Similarly, the hearing officer never allows the inmate accused of a rule violation
16   to call and question witnesses, regardless of whether any security concern would justify such a
17   restriction. Instead, outside the accused inmate’s presence, the hearing officer may ask the
18   witness if he wishes to be a witness for the accused, which in the case of other inmates typically
19   intimidates them into declining.
20            77.       Inmates who are accused of rule violations are also not allowed to question the
21   staff person who initiated the disciplinary notice and wrote the incident report, who are not
22   usually present for the hearing; but even if that staff is present, the accused inmate is not allowed
23   to question him.
24            78.       When an inmate is notified that he has been found guilty of a rule violation, he is
25   not informed of the evidence relied upon by the hearing officer, if any, nor the reasons for such
26   finding. The form the inmate is given merely states, “After consideration of the evidence, the
27   following finding was made: Facts determined to be found.” The form then states the
28   punishment.
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 1            79.       In each instance in which Plaintiff was disciplined for a “major” violation (which
 2   was all but one), he submitted a written appeal of the discipline. In the majority of the cases he
 3   received no written response to the appeal.
 4            80.       Inmates are typically punished before expiration of the 14-day period in which
 5   they may appeal, which runs from the date on which they are notified of the punishment. For
 6   example, Plaintiff was notified on 8/25/19 that he had been found guilty of possessing
 7   contraband (extra underwear), with ten days loss of all privileges beginning on 8/30/19. Plaintiff
 8   appealed the next day, but had already served half of the punishment when a lieutenant came to
 9   Plaintiff’s housing module to inform him that his appeal was granted based on his medical
10   authorization.
11   Claim V – Violation Of California’s Invasion Of Privacy Act
12            81.       Plaintiff incorporates by reference the allegations of paragraphs 1-23 above as
13   though fully set forth here.
14            82.       This claim is brought against Defendants OCSD, GTL and Does 1-3 for violating
15   California’s Invasion of Privacy Act, Penal Code §§ 636 et seq. and arises out of the same facts
16   as the constitutional violations alleged in Claim I.
17            83.       Penal Code § 636 prohibits the recording of a conversation between a person in
18   law enforcement custody and his attorney without permission from all parties to the
19   conversation, and makes such action a felony.
20            84.       By recording Plaintiff’s conversations with his counsel as set forth in Claim I
21   above Defendants OCSD, GTL and Does 1-3 violated Penal Code § 636 and the California’s
22   Invasion of Privacy Act.
23            85.       Penal Code § 637.2 creates a civil cause of action against persons who violate the
24   California’s Invasion of Privacy Act, including damages of $5,000.00 per violation.
25   Claim VI – Violation Of California’s Unfair Business Practices Act
26            86.       Plaintiff incorporates by reference the allegations of paragraphs 1-23 above as
27   though fully set forth here.
28
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 1            87.       This claim is brought against Defendants OCSD and GTL for violating
 2   California’s Unfair Business Practices Act, California Business and Professions Code §§ 17200
 3   et seq. and arises from the same facts as the constitutional violations alleged in Claim I.
 4            88.       Defendant GTL rebates as much as 65% of the revenue it obtains from operating
 5   the inmate telephone system to OCSD. Thus, OCSD and GTL operate the inmate telephone
 6   system as a joint venture in which they share the revenue therefrom.
 7            89.       Plaintiff, through the attorneys that he called on the GTL system, paid or became
 8   obligated to pay over $3,000.00. GTL requires call recipients to prepay for calls placed by
 9   inmates through opening an account and funding it prior to being able to accept an inmate’s call.
10            90.       Defendants OCSD and GTL failed to disclose to Plaintiff or his attorneys that
11   they were recording their telephone calls or that they were providing such recordings to law
12   enforcement investigating then-pending criminal charges against Plaintiff.
13            91.       Had Defendants OCSD and GTL disclosed to Plaintiff or his attorneys that they
14   were recording the calls Plaintiff placed to his attorneys, Plaintiff would not have placed the calls
15   and incurred the expense thereof.
16            92.       The Unfair Business Practices Act provides, in addition to damages, for attorney’s
17   fees to the prevailing party in such a claim.
18   Claim VII – Common Law Fraudulent Concealment
19            93.       Plaintiff incorporates by reference the allegations of paragraphs 1-23 and 83-86
20   above as though fully set forth here.
21            94.       Plaintiff brings this claim against Defendants OCSD and GTL.
22            95.       Defendant OCSD knew, through Investigator Quilantan’s monitoring of
23   Plaintiff’s telephone calls from jail, that Plaintiff’s calls to his attorneys were being recorded in
24   violation of Penal Code § 636.
25            96.       Despite OCSD’s knowledge that Plaintiff’s calls to attorneys were being recorded
26   illegally, OCSD did not disclose and concealed from Plaintiff that his calls were being recorded.
27            97.       Defendant GTL knew that the telephone numbers it was recording that Plaintiff
28   called included his attorneys’ numbers.
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 1            98.       Defendant GTL also knew that it had not placed the phone numbers of Plaintiff’s
 2   attorneys on any “do not record” list, and GTL knew that attorneys in California were generally
 3   not aware that inmates’ telephone calls to attorneys from the Orange County Jail were recorded,
 4   nor were they aware of any procedure by which attorneys could have their telephone numbers
 5   placed on a “do not record” list.
 6            99.       Defendants OCSD and GTL also knew from prior criminal litigation in California
 7   and other states that it was illegal and improper to record inmates’ telephone calls to attorneys.
 8            100.      Despite OCSD’s and GTL’s knowledge as described above, they intentionally
 9   failed to disclose and concealed from Plaintiff and the attorneys he called on the GTL system
10   that they were recording their telephone calls and then distributing same to law enforcement
11   investigators involved in Plaintiff’s criminal prosecution.
12            101.      Defendants OCSD and GTL failed to disclose the above for the purpose of
13   inducing Plaintiff to use the GTL system to call attorneys at OCSD’s and GTL’s financial gain,
14   in which these defendants were successful.
15            102.      Plaintiff would not have used the GTL system to call attorneys had he known that
16   such calls would be recorded and then provided to law enforcement investigating him.
17            103.      Defendant OCSD’s and GTL’s failure to disclose and concealment as described
18   herein has damaged Plaintiff in that he incurred the costs of the calls, his privileged information
19   was disclosed to members of the prosecution team pursuing criminal charges against him, and
20   the chilling effect defendants’ actions have had on his ability to communicate with his attorneys.
21   Claim VIII – Common Law Negligence
22            104.      Plaintiff incorporates by reference the allegations of paragraphs 1-23 above as
23   though fully set forth here.
24            105.      This claim is brought against Defendants OCSD and GTL.
25            106.      OCSD and GTL had a duty not to record and distribute to criminal investigators
26   Plaintiff’s telephone calls to attorneys.
27            107.      OCSD and GTL breached that duty as described herein.
28
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 1            108.      OCSD’s and GTL’s breach of duty was both the actual and proximate cause of
 2   damages to Plaintiff, including the cost of the calls, the disclosure of his privileged information
 3   to members of the prosecution team pursuing criminal charges against him, and the chilling
 4   effect defendants’ breach of duty has had on Plaintiff’s ability to communicate with his
 5   attorneys.
 6   Request For Relief
 7            109.      Plaintiff requests a permanent injunction requiring Defendants OCSD and GTL to
 8   destroy the original and all copies of recordings between Plaintiff and attorneys.
 9            110.      Plaintiff also requests a permanent injunction requiring Defendant OCSD to: (1)
10   reclassify Plaintiff as a minimum custody, general population inmate; (2) expunge all records of
11   Plaintiff having been classified as a sex offender; (3) maintain a written tracking log of all
12   Plaintiff’s incoming “Legal Mail” showing the sender, the date received, and, as evidenced by
13   Plaintiff’s signature, the date delivered to him; and (4) expunge all records of Plaintiff’s
14   disciplinary violations to date and afford Plaintiff due process in connection with any future
15   disciplinary prosecutions, including the right to call and question witnesses absent a documented
16   security reason justifying the refusal to allow a specific witness, the right to review all evidence
17   against him at the time of the hearing, including any incident report(s), notice of the specific
18   evidence relied upon if found guilty, and suspension of punishment until such time as an appeal
19   is decided, or if no appeal is made, expiration of the time in which an appeal is allowed under
20   applicable OCSD policy.
21            111.      Plaintiff requests nominal, actual, statutory, and punitive damages.
22            112.      Plaintiff also requests reasonable attorney’s fees as allowed by law.
23            113.      Plaintiff Demands Trial by Jury
24   Dated: December 2, 2019
                                                              By:     s/David M. Michael_______
25
                                                                      DAVID M. MICHAEL
26                                                                    Michael & Burch LLP

27                                                                    Attorney for Plaintiff
                                                                      Lonnie L. Kocontes
28
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 1
 2                                CERTIFICATE OF ELECTRONIC SERVICE

 3
             I hereby certify that, on 2 December 2019, I caused to be electronically filed the
 4
     foregoing with the clerk of the court by using the CM/ECF system, which will send a notice of
 5   electronic filing on all ECF-registered counsel by operation of the Court’s electronic filing
     system. Parties may access this filing through the Court’s system.
 6
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 8
                                                        s/David M.Michael_____________
 9                                                      DAVID M. MICHAEL
10                                                      Attorney for Claimant
11                                                      LONNIE KOCONTES

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